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AO 187 (Rev. 7/87) Exhibit and Witness List



                                       UNITED STATES DISTRICT COURT
                                              EASTERN         DISTRICT OF         TEXAS
                                                         BEAUMONT DIVISION
                     TINA JOHNSON,
                                                                                 EXHIBIT AND WITNESS LIST
                   V.
       DAVID THOMAS HERBERT, ET AL.                                                   Case Number: 1:22-CV-00411-MJT

PRESIDING JUDGE                                      PLAINTIFF’S ATTORNEY                     DEFENDANT’S ATTORNEY
        MICHAEL J. TRUNCALE                                 MICHAEL E. PIERCE                         LAURA M. CABUTTO
TRIAL DATE (S)                                       COURT REPORTER                           COURTROOM DEPUTY
            NOVEMBER 6, 2023                                     April Hargett                                Jill Veazey
PLF.    DEF.      DATE
                               MARKED     ADMITTED                          DESCRIPTION OF EXHIBITS* AND WITNESSES
NO.     NO.      OFFERED

1.                                                   Certified Crash Record
2.                                                   PD Photos
3.                                                   Johnson Tax Records for 2019 and 2020
4.                                                   ILM Vehicle ECM Data
5.                                                   Handwritten Statement of David Herbert
6.                                                   Scene Overhead Photo of Accident Location
7.                                                   Kendrick Transport Driver’s Daily Log
8.                                                   Bill of Lading
9.                                                   Amazon FMC Carrier Page
10.                                                  Amazon FMC Navigation Page
11.                                                  Amazon Relay Carrier Agreement
12.                                                  Kenneth McCoin Resume
13.                                                  Kenneth McCoin Report dated 8/11/2022
14.                                                  Kenneth McCoin Report dated 7/26/23
15.                                                  Sasha Iverson Bio & CV
16.                                                  Sasha Iverson Report 5-20-22
17.                                                  Jeff Peterson CV
18.                                                  Jeff Peterson Report
19.                                                  Roger Allen CV
20.                                                  Roger Allen Supplemental Report
21.                                                  Bryan Corb CV
22.                                                  Bryan Corb Report 7-5-22
23.                                                  Discovery Responses from Kendrick Transport
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24.                            Discovery Responses from Amazon
25.                            Discovery Responses from ILM
26.                            Exhibits to Depositions
27.                            All exhibits offered by any other party
28.                            Acadian Ambulance Services – Medical Records
29.                            Acadian Ambulance Services – Billing Records
30.                            Port Arthur Emergency Services – Billing only
31.                            The Medical Center of Southeast Texas – Medical Records
32.                            The Medical Center of Southeast Texas – Billing Records
33.                            Texas Regional Clinic – Medical Records
34.                            Texas Regional Clinic – Billing Records
35.                            Signature Scripts – Pharmacy Records
36.                            Gulf Coast Health Center – Medical Records
37.                            Gulf Coast Health Center – Medical Records
38.                            Memorial MRI & Diagnostics – Medical Records
39.                            Memorial MRI & Diagnostics – Billing Records
40.                            Prestige Medical – Medical Records
41.                            Prestige Medical – Billing Records
42.                            Neurosurgery PA – Medical Records
43.                            Neurosurgery PA – Billing Records
44.                            Dr. Oishi (Kraus/OK Neurosurgery/Neurosurgery PA) – Medical Records
45.                            Dr. Oishi (Kraus/OK Neurosurgery/Neurosurgery PA) – Billing Records
46.                            Complete Pain Solutions – Medical Records
47.                            Complete Pain Solutions – Billing Records
48.                            Dr. Lee (Nu Advance Orthopedics) – Medical Records
49.                            Dr. Lee (Nu Advance Orthopedics) – Billing Records
50.                            Coastal Imaging – Billing Records
51.                            Baptist Hospital of Southeast Texas – Medical Records
52.                            Baptist Hospital of Southeast Texas – Billing Records
53.                            Nexus Perioperative Consulting – Billing Records
54.                            Altus Houston Hospital – Medical Records
55.                            Altus Houston Hospital – Billing Records
56.                            Neuroconnect – Billing Records
57.                            Surgiquip – Billing Records
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58.                            Indigo DME and Rehab – Billing Records
59.                            Jefferson Radiology - Billing
60.                            West Jefferson Medical Center – Medical Records
61.                            West Jefferson Medical Center – Billing Records
62.                            New Orleans Physician Services
